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Attorneys for Defendants

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 CLAUDIO COUTINHO, individually               Case No. 2:20-cv-11366-CCC-ESK
 and on behalf of all others similarly
 situated,                                    HON. CLAIRE C. CECCHI
                                              HON. EDWARD S. KIEL
                    Plaintiff,
                                              DECLARATION OF JORDAN
             v.                               S. JOACHIM IN SUPPORT OF
                                              APPLICATION FOR
 BRASKEM S.A., et al.                         ADMISSION PRO HAC VICE

                    Defendants.


      I, JORDAN S. JOACHIM, hereby declare under penalty of perjury as

follows:

      1.    I am an attorney licensed to practice in the State of New York and am

an attorney at Covington & Burling LLP, counsel for Defendants in the above-

captioned matter. I submit this Declaration in support of the application for my

admission pro hac vice pursuant to Local Rule 101.1.
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       2.     My law firm has been retained as counsel for Defendants in this

litigation.

       3.     I am a member of good standing of the following bars:

                 Bar                                     Date Admitted
 State of New York

 Appellate Division, First Judicial
 Department                                   June 27, 2016
 41 Madison Avenue (at 26th Street) -
 26th Floor
 New York, N.Y. 10010
 United States District Court for the
 Southern District of New York
                                              December 13, 2016
 Ruby J. Krajick, Clerk of the Court
 500 Pearl Street
 New York, NY 10007
 United States District Court for the
 Eastern District of New York
                                              August 29, 2018
 Douglas C. Palmer, Clerk of the Court
 225 Cadman Plaza East
 Brooklyn, NY 11201
 United States Court of Appeals for the
 Second Circuit

 Attorney Admissions
                                              December 16, 2019
 Thurgood Marshall United States
 Courthouse
 40 Foley Square
 New York, NY 10007
 United States Court of Appeals for the
 Third Circuit
                                              January 22, 2021
 Attorney Admissions
 James A. Byrne U.S. Courthouse
 601 Market Street


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 Philadelphia, PA 19106
 United States Court of Appeals for the
 Federal Circuit
                                                January 3, 2019
 Attorney Admissions
 717 Madison Place, N.W.
 Washington D.C. 20439

       4.       No disciplinary proceedings are pending against me in any

jurisdiction, and no discipline has previously been imposed on me in any

jurisdiction.

       5.       My colleague David A. Luttinger Jr. is admitted to the bar of the State

of New Jersey, and is serving as counsel of record on this matter, as required by L.

Civ. R. 101.1(c).

       6.       I further agree to (1) make a payment of $150 to the Clerk of the

United States District Court in accordance with L. Civ. R. 101.1(c)(3); (2) abide by

all New Jersey court rules; (3) notify this Court immediately of any matter

affecting my standing at the Bar of any other Court; and (4) have all pleadings,

briefs, and other papers filed with the Court signed by an attorney of record

authorized to practice in New Jersey.

       7.       I respectfully request to be permitted to appear as counsel pro hac vice

in this case.




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